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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

    DAVID SAMBRANO ET AL.,

         Plaintiffs,

    v.                                               No. 4:21-cv-1074-P

    UNITED AIRLINES, INC.,

         Defendant.

                      ORDER EXTENDING
                 TEMPORARY RESTRAINING ORDER
         Before the Court is Plaintiffs’ Motion to Extend Temporary
   Restraining Order, filed October 21, 2021. ECF No. 82. The Court
   initially held a hearing on Plaintiffs’ Motion for a Temporary
   Restraining Order (ECF No. 5) on September 24, 2021. See ECF No. 10.
   At this hearing, the Parties reached an agreement that obviated the
   need for the Court to then rule on the Motion. See ECF No. 28. The Court
   thus deferred ruling on Plaintiffs’ Motion at that time. See id.

      The Court then set Plaintiffs’ Motion for Preliminary Injunction for
   a hearing on October 8, 2021. Id. The day before that hearing, however,
   United filed a Partial Motion to Dismiss, alleging the Court lacked
   personal jurisdiction over claims raised by several Plaintiffs against
   United. See ECF No. 47. To permit Plaintiffs reasonable time to respond
   to United’s jurisdictional challenge, the Court set an expedited briefing
   scheduling and reset the evidentiary hearing on Plaintiffs’ Motion for
   Preliminary Injunction to October 13, 2021. ECF No. 49.

       Then, on October 12, 2021, the Court concluded it was necessary to
   issue a Temporary Restraining Order (“TRO”) to avoid the risk of
   irreparable injury and to maintain the status quo in this case pending
   the Court’s hearing and resolution of Plaintiffs’ Motion for Preliminary
   Injunction. See ECF No. 66. Specifically, the Parties stipulated on
   September 24, 2021, that United would temporarily refrain from placing
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   exempted employees on leave due to their lack of compliance with
   United’s vaccine mandate. As detailed in the Court’s TRO, and further
   clarified in the Court’s October 18, 2021 Order, the TRO merely
   extended the Parties’ stipulated agreement pending a decision on
   whether a preliminary injunction was warranted. See ECF Nos. 66, 72.

       Then, on October 20, 2021, the Court issued a Mediation Order that
   appointed Hon. Kent Hance, Chancellor-Emeritus, as Lead Mediator
   and Hon. Royal Furgeson (Ret.), Dean-Emeritus, as Local Mediator, and
   required the Parties to attend a mediation by October 26, 2021. ECF
   No. 81. This Mediation Order also requires the Parties to file a Joint
   Mediation Report by October 29, 2021, at 12:00 p.m. to apprise the Court
   of the Parties’ progress towards settlement and lingering issues that
   remain in front of the Court after the mediation, if any. See id.

      The Court may extend the TRO for up to an additional 14 days “for
   good cause shown” and for longer periods upon the consent of the
   Parties. See FED. R. CIV. P. 65(b). The rule does not define “good cause.”
   See id. There are few decisions meaningfully applying this standard.
   While there is a dearth of case law commenting on “what constitutes
   ‘good cause’ for purposes of extending a Rule 65(b) order, a showing that
   the grounds for originally granting the temporary restraining order
   continue to exist should be sufficient.” See 11A Charles A. Wright,
   Arthur R. Miller, Mary Kay Kane, Federal Practice and Procedure
   § 2953 pp. 311–12 (2013).
       Here, the reasons that necessitated the initial TRO remain. 1
   Specifically, the Court seeks to maintain the status quo that the Parties
   voluntarily stipulated to at the September 24, 2021 hearing, and that
   was then preserved by the TRO issued on October 12, 2021. See ECF
   Nos. 28, 66. And while the Court has since held an evidentiary hearing
   on Plaintiffs’ Motion for Preliminary Injunction, the Court has not yet


       1The  Court acknowledges receipt of United’s Advice to the Court (ECF No. 94), filed
   on October 25, 2021, that attempts to address an issue raised at the Preliminary
   Inunction hearing regarding the indefinite nature of United’s unpaid leave policy for
   exempted employees. As United submitted this filing on the eve of mediation, the Court
   will await the Joint Mediation Report to determine whether United’s update to its
   policy affects the outcome of the pending motions.

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   issued a ruling on this Motion. See ECF No. 28. Further, the Parties
   have not yet attended the mediation ordered by the Court on
   October 20, 2021. ECF No. 81. Accordingly, it is unclear which issues, if
   any, will remain for the Court to decide after mediation is completed.

      Thus, if the TRO expires without an injunction in place, whether
   agreed to by the Parties at mediation or ordered by the Court, nothing
   would prevent hundreds of workers from ostensibly either: (1) being
   compelled to take a vaccination in violation of their religious beliefs or
   medical restrictions, or (2) being placed on indefinite unpaid leave.
   Further, if the TRO expires by its original terms on October 26, 2021,
   the Parties’ ability to proceed with the mediation in good faith would be
   undermined. Finally, without the benefit of the Joint Mediation Report,
   the Court cannot ascertain what issues presented in the Motion, if any,
   remain to be decided. The Court thus concludes that good cause exists
   to extend the TRO.

     Accordingly, the Court concludes that Plaintiffs’ Motion to Extend
   Temporary Restraining Order (ECF No. 82) should be and is
   GRANTED. It is therefore ORDERED that the Temporary Restraining
   Order issued by the Court on October 12, 2021 (ECF No. 66), as clarified
   on October 18, 2021 (ECF No. 72), is EXTENDED for the first time for
   a period of 14 days. The Temporary Restraining Order will expire on
   Monday, November 8, 2021, at 4:00 p.m. See FED. R. CIV. P. 65(b)(2).

      SO ORDERED on this 25th day of October, 2021.




                 Mark T. Pittman
                 UNITED STATES DISTRICT JUDGE




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